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                                      OFFICE OF THE CLERK
                               UNITED STATES DISTRICT COURT
                                 Northern District of California


                                            CIVIL MINUTES




 Date: January 3, 2023                 Time: 10:32 a.m-.11:19 a.m. Judge: LISA J. CISNEROS
                                              (47 minutes)
 Case No.: 4:22-cv-05502-DMR           Case Name: Coalition on Homelessness v. City and County of
                                       San Francisco




Attorney for Plaintiff: Zal Kotval Shroff, John Thomas H. Do, Joseph Hyuk Lee
Attorney for Defendant: James Moxon Emery and Wayne Kessler Snodgrass


 Deputy Clerk: Brittany Sims                              Reported by: Not Recorded


                                            PROCEEDINGS


Pre-Settlement Conference held. Settlement conference scheduled for January 25, 2023, starting at
9:30 am, on Zoom. Preparation for settlement conference discussed with the parties, including required
submissions and modification to the standing order.
